                      Case 20-04009-elm Doc 8-2 Filed 03/24/20 Entered 03/24/20 19:40:32                                                                                                 Page 1 of 9
                                                          Exhibit B




                                                                                                 Ph,+        (516) 101-9131
                                                                       Contract ID# 1159502 Sales Partner: TVT Capital LLC.
                                                  REVENUE BASED FACTORING lRBF/ACID AGREEMENT
 Agreement dated June 09 2016 between TVl Capital. ("FUNDER") 3Ild the merchant listed below (''the Merchab,f').
                 (Month)(Day)(Year)
                                                                          M£l\CBANT INFORMATION
 Mcrcl)a.Q.t's Legal Name: !,lCENSE TO CHIU.. HEA'l'rNG ANDAIR INC
 D/B/A: J11$t,.Phillin Heating & Air                                                                                        State oflncorporation / Organization: :IX
 Type of entity: ( X) Corporation ( ) Limite<i Liability Company ( · ) Limited Pattnefflhip ( ) Limited Liability Partnership ( ) Sole Proprietor
 l'hysicnl Address: 1150 Blue Mound Rd W Ste 101           City: fufil§!                                                    State: 1'X                        Zip: 760S2-S377
 Mailing Address:                                          City:                                                            State:                             Zip:
 Date business swted (rwn/yy): 07/10                       Federal ID# XX-XXXXXXX
                                                                              r!IB,CIIASE AND SAU: 011'BW!B1k llCEIVABLES
Meu:bant ben:by $CDS, assigns and transfers lo Fundor, as tl,t; lead purchaser for itself amt co-i�iltl>r$ {� FU11der on behalf of itself and all co-,investors (collcctivel:Y the Funde�), the
11l,$Qlutc oWtlC'I'] in consideration ofthe funds pt0vidcd ("�bllse Price'') spec:ifie4 �ow, all of Merchant's futun: rcceipis. accounts, 11oxittaet rights and oth� obligations .arising from or
�huing to tho �yinent of monies from Merchant's c\lstom.crs' and/OJ' other third party payOJ'$ (collectively the "Receipts" defined as al.I pa)'ml!:lt� llladc by cash, check, ele,;.�llie tt'Stlsfet or
other fonn of ttlOIICw," payment in the ordinary 1:0Ul'S(; of tile �chant's business), UDl:il suc:h ti@ 3$ the "R.ccciptsPurchascd A.mpilnl" ha& 1»ez1 delivered by Merehant to FUNDER The
Rc�oipts .Punlha:11Cd Amount shalt be paid to FUNOER by the Merchant i=vocably .illthorizing � depositing lllll:ount �ccptable tc, FUNDER {the"�") to remit the percen1llsc
$peci�cd below {the "Specified l>m;s;nf!ge") <>f tb.c Mciochant's �cccipta, unlil sll�h bn¥' a$ FUNDER l'Cl.lcivcs payment in fill1 of tho �cipts Pureha&cd Amount. In coll'lidcratioa of
servicing the accolmt, th� Mi,,...:bant hereby author izes P'ONOER to ACH Debit the "Specified Daily Amount" from the �hant's bank account tis tbc bMC payau:nt credited ngni� the
Specifi�d. P�sc due. It is the Merc:hant$ mp0mibility to JlfOvide bank atatcmcmts for any m;J all hw a«ounu held by the M�rch.mt to 1«Qncilc the daily payments Jlllld;, asi,.i:nst the
Specified Pen::1:ntagc permitting FONDER to debit or <;tedit the diffetellCc to the merchant so trn,t p3yA>Mt equals the Specified l'crcenmgc. Failiw to provide all of their bank statc111rmts in a
timely manner or l!\i$$ing a m.Ot'ltb shall rort'cit all rights lo fut\118 n:c011Ciliati011S. FUNDER may, upon Mort?hant' � tcqucst, adjust the amount of an)' paymtxit dUC; under this Agreembnt at
l't)Nrll!ll· � ll,IJJC lll!IC.ICUUU lWU 4l> l! �1111> -'JJjJlVV•iAIA.. iu °""i,;,iug LIii� Jlig..:.'-u.:.ut, M",,;,1-t u.\doraui:ndo thnt it io reaponoibl• for �811,,,,' &n.iic a<l•'!.'lal9 f<' •.,...••, �"'"''"t .,, i.. A�h:,�A
by FUNDER remains in� accounI. Merchant will be held responsible fQl' any fees incun-cd b� FUNDER �wltillg from a rejected AC:H attempt or 111'1 cvc»t of default (See Appendix A)
FUNDER is not responsible for any oveidralb or rejected tramactiollll in 1he Merchants ac�Ollllt whi,cl) 111ay result from PUNDER' sc:hedwc4 /'.CH debit under tho 1e1ms ofthis agreement
Notovi� auythine to the contr.uy in this A�e�t er 1111y other agreement l»twecn FUNDER snd Merchant, upon the 'Violation of any provision contained in Section 1.11 ofthe
MERCHANT AGREEMENT ratMS AND CONDnlONS or th¢ OQ(:u.tiencc of an Event of�mult under Se.:tfon 3 ofthe MERCHANT AGREEMENT TERMS AND CONDITIONS, the
Spt;citi.ed Poroco1llgc shall equal 100%. A Ii$! ofall fees applicable widor this ilgfeOm$1 i� cOJ1taitlcd in Appendix A,
P,udi:ue Prl�: $100,000.00                                                                                 Speciftc Daily Amount: SS.29.00                                     Re«ipts J!'un:b..,. A.lilOWlt: $140,060.00

TRE TERMS, DEFl'.Nll'.(ONS, CONDmONS .AND INFORMATION Sl\:T FORm ON PAGE 2, TBE "ME:ftC8ANi SECURUY AGREEMEN'f" AND "Al>ltfINISTRA'l'lVE
il'ORM HEREOF ARE HER.EBY lNCO:al'ORAlll>JN AND MADE PAR'l' Of A l'BIS MJAlCllANT       G
                                                                                        A    E
                                                                                             ll '£MEN't.
MERCJli\l"olT#1
By Pwavoe Brjd13es                                                                                                                      ¥
                            (PrintNameaad l'itle)                                                                                                    nature)

MERCBANT#Z
Jly ----------:-:,,-:-,,-------
                            (Print Name and tide)                                                                                               (Sil[llatun:)

OWNEB/GU.ARANTOR #1
By Dwayne Stidi:cs
                   (Prillt Name RDd TI.tie)                                                                                �R)

O\VNER/GUARANTOll#2
By
              (Pri1n Name and title)                                                                                                            (Signatare)

TV'l'Capilal
»Y------------,--------
                           {Company Officer)                                                                                                    (Sigoaton,)

To lhcextffit $<!:t forth herein, esch oftbe p;!J1le$ is obligated upon his, her or its execution ofth<. As:rtcnlllrlt to all tem1S of the Agr"'Rllmt, ili,aludingthc Additionnl T•mns .i;,:t fc>rth bolow.
Each ohbovc-signed Merchant and Owim(a) R�$1;>nt:; tl,at ho er she is authorized to sign this �- fot MC1Chant, legally binding said Mercl,a,rt to Ye-pay this obligation and that the
information provided bor,:m, � it! all ofFONDER doc-1$. forms all,d reoonicd in11Ctvicws is true, IICC\ll;Uc and complete in all respects- If any sUQh mf<>tJ1C,a!io11 jg false or misleading.
Morchant ahall � dffil\� it.1 material bn:acb ofall apments between Merchant and 'FONDER and FUNDER shall be entitled to all remedies availabl� \lrtdet law. Merchant ancl each ofUw
�bovo-s.igiicd Owners authorizes FUNDER. its agents and representatives and any cmi.it rcporting agency engaged by FUNDER. to (i) invc!lligatc any n:fcrt�s giv;n or �ny other statements
CFN ACH 01�25-16                                                         Colonial Funding Network as Servicing Agent


      Z:1/Z:0         39�d                                                         NillIH::) 1snr                                                     5LJ:,090EL18
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